 

Case 3:22-cv-02174-K-BT Document 22 Filed 01/19/23 Pagelof6é PagelD 98

UNITED STATES DISTRICT COURT

 

 

 

 

 

 

 

NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION
‘TIANIKWA :HAYWOOD § Civil Action
AND §
:PAUL-DOUGLAS :CELESTINE § 3-22-CV 2774-C
V. §
TEXAS REALATOR, ETL. § _
§ U.S. DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
§ FILED
§
§
§ JAN 1 8 2023
§
CLERK, U.S, DISTRICT COURT.
B
MOTION FOR RECONSIDERATION UNDER MARITIME LAW gee

 

 

 

 

The United State Magistrate Judge violated the plaintiff surpass by non-constitutional procedure

By detaining maritime vessel that have paid the fee to travel the sea; legal space. Also magistrate Judge.
Have not signed the document

And
Request for writ of denovo for detaining the lawful vessel by violating the constitution
Case 3:22-cv-02174-K-BT Document 22 Filed 01/19/23 Page 2of6 PagelD 99

Facts

All parties have been properly served by way of the United States mail procedure, postal union,
maritime law; Maritime post master.

‘Tianikwa :Haywood Plaintiff
:Paul-Douglas :Celestine have requested reviewing by the United States District Judge

Law
The Plaintiffs knowledge that provide the grounds for higher entitlement to relief.

1. The Honorable Magistrate Judge have not sign the document and have set false sentence
structure communication parse syntax grammar in the response, this his/her response does not
stop the taint by the grammar by these words “until, it, and, is, appropriate, until, are, on” the
words have several meanings that violate due process, this violate the law; by the constructed
violation mean no contract, which trigger title 18:1001.

The Honorable court by the constitutional must reconsider the maritime effect of his/her ruling, by
the superior law of maritime which began 8500 year. These vessel must not be detained.

Respectfully Submitted
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‘Tianikwa :Haywood ate

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION
‘TIANIKWA : HAYWOOD § Civil Action
AND §
:PAUL-DOUGLAS :CELESTINE § 3-22-CV 2774-C
v. §
TEXAS REALATOR, §
§
§
§
§
§
§
Order For

 

MOTION FOR RECONSIDERATION UNDER MARITIME LAW

 

The United State Magistrate Judge violated the plaintiff surpass by non-constitutional procedure

By detaining maritime vessel that have paid the fee to travel the sea; legal space. Also magistrate Judge.
Have not signed the document

 

 

 

 

GRANTED
DENIED
DATE
HONORABLE JUDGE
UNITED STATES

DISTRICT COURT

 
 

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION
TIANIKWA :HAYWOOD § Civil Action
AND §
‘PAUL-DOUGLAS :CELESTINE § 3-22-CV 2774-C
V. §
TEXAS REALATOR, ETL. §
§
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§
Order
Writ of Deveno
It is so order that the above motion is:
GRANTED
DENIED
DATE
HONORABLE JUDGE
UNITED STATES

DISTRICT COURT

 
 

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

STIANIKWA : HAYWOOD § Civil Action

AND §
:PAUL-DOUGLAS :CELESTINE § 3-22-CV 2774-C

V. §
TEXAS REALATOR, ETL. §

 

NOTICE OF APPEARANCE MARTIME CHIEF JUDGE :PAUL-DOUGLAS :CELESTINE IN CIVIL ACTION NO. 3-
22-CV2774-C

 

COMES NOW, Chief Judge “Maritime Law” hereby gives notice of appearance to the Honorable
concerning the Maritime Law, Federal Law, and C.S.S.C.P.S.G. of civil action 3-22-CV-2447-C and hereby
invoking State, Federal, and Maritime Law. :Paul-Douglas :Celestine is moving the vessel into a sea of
space which is the court.

1. Chief Judge :Paul-Douglas :Celestine is invoking all of his rights as a Chief Maritime Judge
with all authority of the law and constitution in that truth and facts shall now come before
the court.

2. By the fraud of the Plaintiff TEXAS REALATOR, ETL, in the grarmmar of the contract, the court
is requesting the “Correct-Sentence- Structure-Communication-Parse-Syntax-Grammar” of
all documents used in the original contract and loan agreement

For the Honorable Judge, knowledge of the court is the paper or complaint. The grammar is fraud when
one received the meaning of the C.S.S.C.P.S.G or “Correct-Sentence- Structure-Communication-Parse-
Syntax-Grammar” of the contract. Also, the framing or boxing anything that is in a box is void in stopping
the conveyance of evidence.

Respectfully submitted,

ut Douglas lolestte 2625

:Paul-Douglas :Celestine Date

 

 
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JAN | 8 2023

MAILROOM

 

       

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